        Case 2:13-md-02437-MMB Document 274 Filed 08/20/15 Page 1 of 2



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA



IN RE: DOMESTIC DRYWALL                                  MDL No. 2437
ANTITRUST LITIGATION                                     13-MD-2437


THIS DOCUMENT RELATES TO:
ALL INDIRECT PURCHASER ACTIONS



     ORDER RE IPP SETTLEMENT CLASS COUNSEL’S REQUEST TO UTILIZE
        SETTLEMENT FUNDS FOR ONGOING LITIGATION EXPENSES


       AND NOW, this 20th day of August, 2015, this Court having granted final approval of

the Indirect Purchaser Plaintiff’s (IPP’s) settlements with TIN and USG, by separate orders dated

today; having held a fairness hearing on July 15, 2015; having considered all the submissions

and arguments with respect thereto; and for the reasons stated in the accompanying

memorandum; it is hereby ORDERED that IPP Settlement Class Counsel’s request to utilize up

to $2.5 million of the TIN and USG settlement funds to pay Plaintiff’s litigation expenses is

GRANTED IN PART and DENIED IN PART, without prejudice, as follows:

       1.     Counsel are authorized to use $416,661.70 of the settlement funds to pay expert

              costs that have been incurred but not yet paid;

       2.     These authorized expenses shall be paid proportionally from the settlement funds

              provided by TIN and USG, such that approximately 4% of the funds from each

              Defendant’s settlement will be used for litigation expenses at this time;

       3.     At this time, Counsel are not authorized to use the settlement funds to defray or

              reimburse any other litigation expenses;
          Case 2:13-md-02437-MMB Document 274 Filed 08/20/15 Page 2 of 2



          4.        After the Court rules on the pending summary judgment motions, and if this case

                    then proceeds against one or more remaining Defendants, Counsel may reapply

                    for permission to use more of the settlement funds for litigation expenses.



                                                            BY THE COURT:

                                                            /s/ Michael M. Baylson

                                                            MICHAEL M. BAYLSON, U.S.D.J.
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